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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS


MARSHALL THOMAS, III                          )
                                              )
                Plaintiff,                    )
                v.                            )              CIVIL ACTION
                                              )              NO. 19-10645-PBS
SELECT PORTFOLIO SERVICING,                   )
INC., et al.                                  )
             Defendants.                      )


                                     SCHEDULING ORDER

       Following a status conference held on November 12, 2019 in accordance with Fed. R.

Civ. P. 16(a), it is hereby ORDERED as follows:

       1.       The parties shall comply with the following schedule:

                (a)     All fact discovery shall be completed by December 29, 2019.

                (b)     The parties shall file any dispositive motions by January 31, 2020.

       Any opposition shall be filed within 21 days from service of the motion; and any

       reply shall be filed within 14 days from service of the opposition.

                (c)     Any concise statement of material facts that is filed pursuant to

       Local Rule 56.1 in opposition to a motion for summary judgment shall include

       numbered paragraphs admitting or denying, paragraph by paragraph, the facts

       contained in the moving party’s concise statement of material facts.

       2.       As part of any L.R. 7.1 consultation in connection with any issue to be brought to

the court’s attention, the parties shall discuss and try to reach an agreement as to the

appropriate way to bring the dispute to the attention of the court, including whether full
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briefing and/or in-person oral argument is necessary. The parties shall notify the court of their

proposal as to how best to proceed.

       3.       The next status conference is scheduled for December 23, 2019 at 10:00

a.m. in Courtroom #15 on the 5th floor. At that time, the parties shall be prepared to

discuss:

                (a)    the status of the case;
                (b)    scheduling for the remainder of the case through trial;
                (c)    use of alternative dispute resolution programs; and
                (d)    consent to trial before the Magistrate Judge.

       4.       The parties shall submit a brief joint statement no later than three (3) business

days before the conference addressing the issues itemized in paragraph 4 above. With respect

to the use of ADR or having the matter tried by a Magistrate Judge, the parties shall indicate

whether an agreement has been reached, but shall not identify their respective positions.



                                                      / s / Judith Gail Dein
                                                      Judith Gail Dein
                                                      United States Magistrate Judge
DATED: November 12, 2019




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